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        2.     The parties are also DIRECTED to file simultaneous supplemental
 briefs, not to exceed 10 pages, no later than 12:00 noon on June 17, 2022, regarding
 the effect of the Naranjo decision on the instant case.

        IT IS SO ORDERED.




                                 CIVIL MINUTES—
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                                    GENERAL
